
DUNCAN, Circuit Judge,
concurring:
I respect the majority’s well-reasoned opinion in this case and therefore fully concur in its conclusion that we lack jurisdiction to hear this appeal. I write separately only to express my hope that the district courts in these consolidated appeals will give due consideration to the appellant’s immunity and preemption arguments — especially in light of the Supreme Court’s recent opinion in Filarsky v. Delia, — U.S. —, 132 S.Ct. 1657, 182 L.Ed.2d 662 (2012), as discussed in Judge Niemeyer’s dissent — which are far from lacking in force.
Judge Agee has authorized me to indicate that he joins in this concurrence.
